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6                            UNITED STATES DISTRICT COURT
7                       SOUTHERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,                    )    Case No. 15CR2932-H
                                                  )
10                             Plaintiff,         )
                                                  )    Booking No. 52272-408
11                      v.                        )
                                                  )
                                                  )    JUDGMENT AND ORDER
12   CHRISTOPHER PARSONS (17),                    )
                                                  )    OF DISMISSAL
13                             Defendant.         )
                                                  )
14                                                )
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16         Based upon the motion of the United States, the Court grants the government’s
17   motion to dismiss without prejudice the Indictment in the above entitled case against
18   defendant Christopher Parsons. The defendant is hereby discharged and the bond is
19   hereby exonerated as to this case only.
20         IT IS SO ORDERED AND ADJUDGED.
21
22         DATED: July 5, 2016                 ________________________________
                                               HONORABLE MARILYN L. HUFF
23
                                               UNITED STATES DISTRICT JUDGE
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